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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

ALPHA PHI ALPHA FRATERNITY
INC., et al.,

      Plaintiffs,

v.                                           CASE NO. 1:21-CV-05337-SCJ

BRAD RAFFENSPERGER, in his
official capacity as Secretary of State of
Georgia,

      Defendant.


                DEFENDANT’S BRIEF IN SUPPORT OF
                MOTION FOR SUMMARY JUDGMENT

                              INTRODUCTION

      After engaging in a months-long process in 2021 that sought broad input

and despite COVID-related Census delays, Georgia implemented redistricting

maps for the General Assembly that split fewer counties than prior plans,

paired very few incumbents, and increased or maintained the number of

majority-Black districts. Plaintiffs claim these maps result in “a denial or

abridgement of the right . . . to vote on account of race or color,” 52 U.S.C. §

10301(a), because they say the General Assembly had an obligation to draw 17

majority-Black Senate districts instead of 14 in the enacted plan and 54
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majority-Black House districts instead of 49 in the enacted plan, so the adopted

maps constitute illegal vote dilution.

      But Section 2 does not allow this court to infer vote dilution “from mere

failure to guarantee a political feast,” Johnson v. De Grandy, 512 U.S. 997,

1017 (1994) (majority op.), because the “[f]ailure to maximize cannot be the

measure of § 2.” Id.

      This means that Section 2 is not simply a checklist—“do we have a map

with more districts, polarized voting, and a history of discrimination? End of

analysis!”—instead, this Court is required to “conduct an intensely local

appraisal of the design and impact of a voting system.” Johnson v. Hamrick,

296 F.3d 1065, 1074 (11th Cir. 2002) (quoting Negron v. City of Miami Beach,

113 F.3d 1563, 1566 (11th Cir. 1997)). And the alleged dilution of the right to

vote “must be on account of a classification, decision, or practice that depends

on race or color, not on account of some other racially neutral cause.” Solomon

v. Liberty Cnty. Comm’rs, 221 F.3d 1218, 1225 (11th Cir. 2000) (en banc)

(quoting Nipper v. Smith, 39 F.3d 1494, 1515 (11th Cir. 1994) (en banc)); accord

Brnovich v. Democratic Nat’l Comm., 141 S. Ct. 2321, 2359 (2021) (Kagan, J,

dissenting) (Section 2 asks whether an election law interacts with conditions

“to cause race-based inequality in voting opportunity” (emphasis added)). This

local appraisal also does not mean the adopted plans have to beat Plaintiffs’

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maps in a “beauty contest.” Bush v. Vera, 517 U.S. 952, 977 (1996) (O’Connor,

J.). This is at least in part because “the Constitution charges States, not federal

courts, with designing election rules.” Curling v. Raffensperger, 50 F.4th 1114,

1122 (11th Cir. 2022).

      Thus, instead of engaging in a wholesale review of the legislature’s

choices, this Court must answer two fundamental questions, in an area of law

that is “notoriously unclear and confusing,” Merrill v. Milligan, 142 S. Ct. 879,

881 (2022) (Kavanaugh, J., concurring):

         • Did the Georgia General Assembly adopt a map that dilutes the

            right to vote of Black voters in Georgia on account of race or color

            when it drew a Senate map without three additional majority-

            Black Senate districts in metro Atlanta and Augusta? If so, which

            of these districts should have been drawn and why?

         • Did the Georgia General Assembly adopt a map that dilutes the

            right to vote of Black voters in Georgia on account of race or color

            when it drew a House map without five additional majority-Black

            House districts in metro Atlanta, Macon, Augusta, and/or1


1 Given the conflicting views of Plaintiffs’ experts in this case and Grant on

where these additional districts should be located, the “and/or” is important in
determining what Plaintiffs say the General Assembly failed to do.


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            Southwest Georgia? If so, which of these districts should have been

            drawn and why?

      As discussed below, Plaintiffs cannot prevail on their claims after

discovery. This Court should determine that Plaintiffs have failed to present

evidence that Georgia’s legislative maps dilute the right to vote on account of

race or color and dismiss this case.

      First, the maps proposed by Plaintiffs do not meet prong one of

Thornburg v. Gingles, 478 U.S. 30 (1986), because they are improperly focused

on race and thus cannot be implemented and because they do not demonstrate

the State should have drawn additional majority-Black districts. Plaintiffs’

expert utilized racial shading, racial splits, and other tools while drawing and

could not identify communities beyond race when preparing the maps that

united disparate communities of Black voters. Indeed, if Georgia had used the

same processes Plaintiffs’ experts used, it would be accused of racial

gerrymandering.2




2 In fact, while Georgia is accused of not considering race enough in this case

by failing to draw a sufficient number of majority-Black districts, it is accused
of considering race too much by plaintiffs who say the congressional plans are
racial gerrymanders in the Ga. NAACP and Common Cause three-judge panel
cases.

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        Second, the second and third prongs of Gingles are not met because

Plaintiffs’ experts studiously avoided any analysis of the cause of the

polarization they found, opting instead to refer to any voting pattern where the

majority votes to defeat the minority as “racially polarized.” But the

requirement of Section 2’s text that any vote dilution be “on account of race or

color” requires that it not be “on account of politics.” Plaintiffs’ failure to

address this issue in discovery is fatal to their claims.

        As discussed below, after discovery, there is no material fact in dispute

that could cause this case to continue. This Court should grant judgment as a

matter of law to Defendant.

                         FACTUAL BACKGROUND3

   I.      Georgia’s redistricting plans.

        Following the delayed release of Census data in 2021,4 the Georgia

General Assembly began working on redistricting maps ahead of its November


3 As required by this Court’s instructions, III. I., all citations to the record are

included in the brief and in the accompanying Statement of Material Facts
(SMF) that is filed contemporaneously with this brief. The SMF includes the
full citations to the shortened deposition citations in the brief, along with the
exhibits and deposition excerpts required by the Local Rules.
4 That Census data showed that the increase in the percentage of Black voters

in Georgia from 2010 to 2020 was slightly more than two percentage points.
SMF ¶ 1; Cooper Report, ¶ 50. But further Census data has shown decreases
in the Black Citizen Voting Age Population between 2019 and 2021. SMF ¶ 2;
Cooper Dep. 99:11-23, 100:10-16.

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2021 special session. Both chairs of the House and Senate committees with

jurisdiction over redistricting sought to meet with all of their colleagues, both

Republican and Democratic, to gain input on their areas of the state. SMF ¶ 3;

Wright Dep. 68:17-69:7. Consistent with past redistricting cycles, the joint

House and Senate committees also held a series of “listening sessions” across

the state to hear from citizens about maps, including several Zoom meetings.

SMF ¶ 4; Kennedy Dep. 171:13-20, 194:1-195:10. And for the first time in 2021,

the General Assembly provided a public comment portal online, seeking

comments from the public. SMF ¶ 5; Wright Dep. 252:20-253:4. After holding

a committee education day where a variety of stakeholder groups presented

about map-drawing, the committees adopted guidelines to govern the map-

drawing process. SMF ¶ 6; Kennedy Dep. 161:1-4; Rich Dep. 214:19-215:7.

      To   prepare   maps,    Gina    Wright,   the   director   of   the   Joint

Reapportionment Office, drafted “blind” maps for the House and Senate,

drawing based on her own knowledge of Georgia and the historic districts. SMF

¶ 7; Wright Dep. 45:15-25 (Senate map); 62:17-62:24 (House map). The chairs

of the House and Senate committees then met with Ms. Wright to adjust

district boundaries based on the input they received from members and from




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others.5 SMF ¶ 8; Wright Dep. 54:3-20, 77:2-7 (Senate map); 197:2-6 (House

map). The chairs and Ms. Wright also consulted with counsel about compliance

with the Voting Rights Act. SMF ¶ 11; Wright Dep. 92:8-20. While racial data

was available, the chairs of each committee focused on past election data to

evaluate the partisan impact of the new plans while drawing with awareness

of Republican political performance. SMF ¶ 12; Wright Dep. 55:25-56:7; 140:3-

11; 140:17-19; 257:21-258:1; 258:2-14.

      The resulting Senate map reduced the number of split counties from the

prior plan, did not pair any incumbents of either party, and maintained the

same number of majority-Black districts as prior plans. SMF ¶ 13; Cooper

Report ¶ 116, Figure 21; Kennedy Dep. 106:4-11; Cooper Report ¶ 70, Figure

11. Similarly, the state House maps also reduced the number of split counties,

increased the number of majority-Black districts in metro Atlanta, and paired

a small number of incumbents. SMF ¶ 14; Cooper Report ¶ 189, Figure 37; Rich

Dep. 125:4-11, 196:17-22; Cooper Report, ¶ 132, Figure 23. The Governor




5 When Democrats requested changes, some of those changes were included.

SMF ¶ 9; Wright Dep. 59:5-60:7 (Sen. Rhett). Information about draft maps
was also shared with members of the Democratic caucus, which had its own
counsel and map-drawers. SMF ¶ 10; Wright Dep. 223:14-224:4, 226:11-17;
Jackson Dep. 12:9-21.

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signed the plans on December 30, 2021, and they were used in the 2022

elections. SMF ¶ 15; [Doc. 141, ¶ 60].

   II.      The individual Plaintiffs.

         All of the individual plaintiffs in this case consider themselves to be

members of the Democratic Party, have held positions in the Democratic Party,

and most of them have never voted for a Republican candidate. SMF ¶¶ 16-31;

Woods Dep. 27:13-19, 19:9-25, 28:19-29:7; Glenn Dep. 25:2-14, 25:19-24, 28:13-

15; Brown Dep. 36:7-16, 24:4-32:3, 37:15-18; Stewart Dep. 25:11-25. Given the

political nature of the polarization discussed below and the partisan impact

of this case, the political goals of Plaintiffs are relevant for this Court’s

consideration.

   III.     Plaintiffs’ proposed maps.

         Plaintiffs began planning for this litigation before the Georgia maps

were even complete—retaining experts to begin drawing alternative maps

before the special session convened. SMF ¶ 32; Cooper Dep. 24:18-25:11. After

the Governor signed the maps, Plaintiffs immediately sued.




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      A. Overall Alpha Phi Alpha maps.

      Plaintiffs’ goal in offering their illustrative plans was to determine

whether they could draw additional majority-Black6 districts beyond those

drawn by the state plans. SMF ¶ 33; Cooper Dep. 34:24-35:5. When creating

the various plans, Plaintiffs’ map-drawer expert could not explain compliance

with other traditional factors, but instead focused on the racial makeup of the

plans.

      Plaintiffs’ expert, Mr. Cooper, does not believe that a metric can identify

whether race predominated in the drafting of a district plan. SMF ¶ 35; Cooper

Dep. 40:21-41:7. But when he was creating his illustrative maps, he turned on

features in the software to indicate where Black individuals were located. SMF

¶ 36; Cooper 60:10-18, 61:16-22. Unlike the legislature, Mr. Cooper did not

have any political data available to him. SMF ¶ 37; Wright Dep. 55:25-56:7;

140:3-11; 140:17-19; 257:21-258:1; 258:2-14; Cooper Dep. 68:17-68:3. He also

did not review any public comments. SMF ¶ 38; Cooper Dep. 128:20-25. Mr.

Cooper also views all Black Americans as sharing a community of interest for



6  Map-drawers distinguish “majority-minority” from “majority-Black.”
Majority-minority districts have a majority of non-white and Latino voters,
while majority-Black districts are districts where Black voters as a single
racial category constitute a majority of a district. SMF ¶ 34; Cooper Dep. 37:23-
38:1, 38:25-39:5.

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purposes of his map-drawing. SMF ¶ 39; Cooper Dep. 94:15-94:20, 95:1-6. Mr.

Cooper’s preliminary-injunction plans contained the maximum number of

Black districts he drew for any legislative plan in Georgia. SMF ¶ 40; Cooper

Dep. 34:24-35:5.

      B. Illustrative Senate plan.

      Although Mr. Cooper created five additional majority-Black Senate

districts for the preliminary-injunction proceedings, his expert report only

includes four additional majority-Black Senate districts. SMF ¶ 41; Cooper

Dep. 66:25-67:11. In order to create the additional Senate districts, Mr. Cooper

changed more than half of all districts from the enacted plan. SMF ¶ 42; Cooper

Dep. 156:20-157:11.

      In drafting the illustrative Senate districts, Mr. Cooper sacrificed

traditional   redistricting   principles    to   create   majority-Black   districts,

connecting Black voters wherever he could find them. To create Senate District

23, Mr. Cooper crossed his own regions and the boundaries of various regional

commissions to connect Black voters separated by intervening white

populations. SMF ¶ 43; Cooper Dep. 142:15-143:7. Despite not being able to

identify which counties are in the Black Belt, SMF ¶ 44, Cooper Dep. 80:19-21,

Mr. Cooper relied on counties in illustrative District 23 as being in the Black

Belt for any possible connections. SMF ¶ 45; Cooper Dep. 144:20-145:9, 145:20-


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146:4. Mr. Cooper also made racial splits of counties in the creation of

illustrative District 23, including higher concentrations of Black voters in

counties while excluding lower concentrations of Black voters when a county

was split. SMF ¶ 46; Morgan Report, ¶¶ 33-37.

      To create Senate Districts 17 and 28, Mr. Cooper strategically cut

counties to ensure that areas with higher concentrations of Black voters were

connected with more distant concentrations of white voters. SMF ¶ 47; Morgan

Report, ¶¶ 25-30. This resulted in the largest counties by population in

illustrative Senate Districts 17 and 28 not containing a majority of Black

individuals. SMF ¶ 48; Cooper Dep. 118:12-17, 119:23-120:7. Mr. Cooper could

not identify a community of interest between northern Clayton County and

rural Spalding County in his configuration of this South Metro area beyond

the race of the individuals in both parts of the district. SMF ¶ 49; Cooper Dep.

130:14-131:2.

      Further, the illustrative Senate plan does not comply with traditional

redistricting principles when compared to the enacted Senate plan. Although

the illustrative plan has a similar number of county splits, that is only because

Mr. Cooper unsplit counties in parts of the state unrelated to the additional

majority-Black districts to make the total split number appear more similar.

SMF ¶ 50; Morgan Report, ¶¶ 36-39.

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      C. Illustrative House plan.

      Mr. Cooper offered the same increase of five majority-Black House

districts on his preliminary-injunction plan and expert report, but located

those five districts in different places. SMF ¶ 51; Cooper Dep. 167:11-17. In

order to create the additional House districts, Mr. Cooper changed more than

half of all of the House districts from the enacted plan. SMF ¶ 52; Cooper Dep.

205:7-205:11.

      In drafting the illustrative House districts, Mr. Cooper again sacrificed

traditional   redistricting   principles    to   create   majority-Black   districts,

connecting Black voters wherever he could find them. To create House District

133 as a new majority-Black district, Mr. Cooper had to add county splits in

the area over the enacted plan, including splitting seven rural counties in

several adjoining districts. SMF ¶ 53; Morgan Report, ¶¶ 59-62; Cooper Dep.

187:2-9; 187:20-188:6. To create House District 145 as a new majority-Black

district, Mr. Cooper had to adjust Macon districts so that no House district is

wholly within Bibb County and each of the majority-Black districts in that area

includes population from downtown Macon, including one district that crosses

out of the Macon Census statistical area. SMF ¶ 54; Cooper Dep. 196:21-

197:18, 198:7-198:11. To create Districts 74 and 117 in metro Atlanta, Mr.

Cooper had to connect portions of counties with higher concentrations of Black


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voters with more-rural, white areas. SMF ¶ 55; Cooper Dep. 174:10-20, 175:20-

176:7. Finally, in southwest Georgia, when he created District 171, Mr. Cooper

did not rely on the Corridor Management Plan he cited until after drawing the

district and did not verify that all parts of the historic route were included.

SMF ¶ 56; Cooper Dep. 191:14-21, 192:9-16, 192:23-193:12. Illustrative District

171 also connects disparate enclaves of Black population and splits additional

counties to include Black population in the district. SMF ¶ 57; Morgan Report,

¶¶ 65-66.

      To create the additional majority-Black districts on his illustrative

House plan, Mr. Cooper elongates other surrounding districts to create “room”

for the new districts to connect racially disparate populations. SMF ¶ 58;

Morgan Report, ¶¶ 50-54, 56. This impacts the compactness of the districts,

lowering the overall compactness of the districts created in the illustrative

plan. SMF ¶ 59; Morgan Report, ¶ 55 Chart 8.

      Further, the illustrative House plan does not comply with traditional

redistricting principles when compared to the enacted House plan. It has

higher total population deviations than the enacted plan. SMF ¶ 60; Cooper

Dep. 200:7-11. Although the illustrative plan has a number of county splits

similar to the enacted plan, that is only because Mr. Cooper unsplit counties




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in parts of the state unrelated to changes to make the total split number appear

more similar. SMF ¶ 61; Morgan Report, ¶¶ 68-76; Cooper Dep. 202:22-203:14.

      D. Lack of agreements among experts.

      Plaintiffs’ experts in this case do not necessarily agree with experts in

other cases. For example, unlike Mr. Cooper, Mr. Esselstyn did not draw any

new majority-Black House districts in east Georgia or in southwest Georgia.

SMF ¶ 62; Esselstyn Report, ¶ 48, Figure 13. Unlike Mr. Esselstyn, Mr. Cooper

only drew one additional majority-Black state House district in Macon and did

not draw an additional majority-Black district in western metro Atlanta. SMF

¶ 63; Cooper Report, ¶ 153.

      Mr. Cooper and Mr. Esselstyn also located their new majority-Black

Senate districts in metro Atlanta in different places, with Mr. Cooper drawing

his District 28 without Coweta County and his District 17 into DeKalb County

as opposed to the placement on Mr. Esselstyn’s plans. SMF ¶ 64; Cooper

Report, ¶¶ 85-86; Esselstyn Report, ¶ 27, Figure 4.

            ARGUMENT AND CITATION OF AUTHORITIES

      Summary judgment is appropriate when there is no genuine issue of

material fact and the moving party is entitled to judgment as a matter of law.

Fed. R. Civ. P. 56. The moving party bears the initial burden but is not required

to negate the opposing party’s claims. Instead, the moving party may point out


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the absence of evidence to support the non-moving party’s case. Celotex Corp.

v. Catrett, 477 U.S. 317, 325 (1986); Marion v. DeKalb County, Ga. 821 F. Supp.

685, 687 (N.D. Ga. 1993).

      Section 2 of the Voting Rights Act prohibits jurisdictions from diluting

the strength of minority voters through a “standard, practice, or procedure”

“which results in a denial or abridgement of the right of any citizen of the

United States to vote on account of race or color.” 52 U.S.C. § 10301(a). Proof

of illegal vote dilution is established through a “totality of the circumstances”

analysis. 52 U.S.C. § 10301(b).

      In order to show a Section 2 violation, a plaintiff bears the burden of first

proving each of the three Thornburg v. Gingles, 478 U.S. 30 (1986),

preconditions7:

      Specifically, plaintiffs in vote dilution cases must establish as a
      threshold matter: (1) that the minority group is “sufficiently large and
      geographically compact to constitute a majority in a single-member
      district”; (2) that the minority group is “politically cohesive”; and (3) that
      sufficient racial bloc voting exists such that the white majority usually
      defeats the minority’s preferred candidate.

Nipper v. Smith, 39 F.3d 1494, 1510 (11th Cir. 1994) (quoting Gingles, 478 U.S.

at 50-51). Only after establishing the three preconditions does a court begin a


7 These preconditions are also frequently referred to in cases as the Gingles

“prongs.” See, e.g., Bartlett v. Strickland, 556 U.S. 1, 17 (2009); Johnson, 296
F.3d at 1073.

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review of the so-called “Senate Factors” to assess the totality of the

circumstances. Id. at 1512; Gingles, 478 U.S. at 79; Johnson v. De Grandy, 512

U.S. 997, 1011 (1994). Failure to establish one of the Gingles prongs is fatal to

a Section 2 claim because each of the three prongs must be met. See Johnson

v. DeSoto Cnty. Bd. of Comm’rs, 204 F.3d 1335, 1343 (11th Cir. 2000); Burton

v. City of Belle Glade, 178 F.3d 1175, 1199 (11th Cir. 1999); Brooks v. Miller,

158 F.3d 1230, 1240 (11th Cir. 1998); Negron v. City of Miami Beach, 113 F.3d

1563, 1567 (11th Cir. 1997). And of course, while these preconditions are

necessary to proving a Section 2 claim, they are not sufficient. Johnson, 512

U.S. at 1011 (Gingles preconditions are not “sufficient” to “prove a § 2 claim.”).

   I.      Plaintiffs cannot establish the first Gingles precondition.

        As this Court already found, illustrative plans cannot “subordinate

traditional redistricting principles to racial considerations substantially more

than is reasonably necessary to avoid liability under Section 2.” Alpha Phi

Alpha Fraternity v. Raffensperger, 587 F. Supp. 3d 1222, 1264 (N.D. Ga. 2022)

(citing Davis, 139 F.3d at 1424). The evidence demonstrates that Plaintiffs

have gone beyond that limitation here.

        As Mr. Cooper testified, he used racial shading and other techniques in

his efforts to create majority-Black districts. See Miller v. Johnson, 515 U.S.

900, 925 (1995) (use of racial shading in district maps). He was unable to


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identify factors that connected areas of his new majority-Black districts beyond

the common community of interest shared by all Black individuals. And when

he split counties, he did so in ways that ensured higher concentrations of Black

voters were included in the portions of counties in the new majority-Black

districts. This cannot meet prong one because Mr. Cooper used techniques that

constitute racial gerrymandering, which make his districts improper as a

potential remedy.

      The Eleventh Circuit prohibits the separation of the first prong of

liability under Gingles and the potential remedy. Nipper, 39 F.3d at 1530-31;

see also Burton, 178 F.3d at 1199 (“We have repeatedly construed the first

Gingles factor as requiring a plaintiff to demonstrate the existence of a proper

remedy.”). Whatever plan is used to demonstrate the violation of the first prong

of Gingles must also be a remedy this Court can impose. Nipper, 39 F.3d at

1530-31. In short, if a plaintiff cannot show that the plan used to demonstrate

the first prong can also be a proper remedy, then the plaintiff has not shown

compliance with the first prong of Gingles. Id. at 1530-31.

      Additionally, Plaintiffs have presented no evidence of the geographic

compactness of the Black community in the proposed new districts aside from

the fact that they are drawn. This absence of evidence supports a grant of

summary judgment to Defendant. Marion, 821 F. Supp. at 687. The Supreme

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Court requires that the size and geographic compactness portions of the first

Gingles prong relate to the community, not to any potential district created by

a plaintiff: “The first Gingles condition refers to the compactness of the minority

population, not to the compactness of the contested district.” League of United

Latin Am. Citizens v. Perry, 548 U.S. 399, 433 (2006) (LULAC) (emphasis

added) (quoting Bush v. Vera, 517 U.S. 952, 997 (1996)).

         Mr. Cooper’s districts combine distinct minority communities, often with

intervening white population, and often barely achieve majority-Black status.

Mr. Cooper could identify practically nothing beyond the race of the voters in

a number of his districts that united them—in clear violation of the

requirements of LULAC: “there is no basis to believe a district that combines

two far-flung segments of a racial group with disparate interests provides the

opportunity that § 2 requires or that the first Gingles condition contemplates.”

Id.; SMF ¶ 65; Cooper Dep. 130:14-131:2.

   II.      Plaintiffs cannot establish the second and third Gingles
            preconditions.

         Even if Plaintiffs have shown a proper remedy, they still cannot prevail

because they have not shown legally significant racially polarized voting. The

basis for a Section 2 vote-dilution claim must be more than a simple failure to

win elections—because, in a majoritarian system, “numerical minorities lose



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elections.” Holder v. Hall, 512 U.S. 874, 901 (1994) (Thomas, J., concurring)

(citations omitted). In order to succeed, Plaintiffs must show that minority

voters, though able to vote, are unable to elect their preferred candidates

because their votes have been “submerge[ed]” in a majority that votes as a

“racial bloc” against them. Gingles, 478 U.S. at 46, 49-52. And this racial bloc

voting, by its very terms, must be attributable to race, rather than, for example,

race-neutral partisan politics. Otherwise, it is just majority bloc voting or, as

Justice White put it, “interest-group” politics. Id. at 83 (White, J., concurring).

And “Congress and the Supreme Court” have refused “to equate losses at the

polls with actionable vote dilution where these unfavorable results owe more

to party than race.” League of United Latin Am. Citizens, Council No. 4434 v.

Clements, 999 F.2d 831, 860 (5th Cir. 1993).

      A. To establish vote dilution “on account of race,” a plaintiff
         must prove racial bloc voting, not majority bloc voting
         attributable to ordinary partisan politics.

      In its ruling denying Plaintiffs’ respective motions for preliminary

injunction in this action, this Court “conclude[d] as a matter of law that, to

satisfy the second Gingles precondition, Plaintiffs need not prove the causes of

racial polarization, just its existence.” Alpha Phi Alpha Fraternity, 587 F.

Supp. 3d at 1303. Relying on the plurality opinion in Gingles, this Court stated

“[f]or purposes of § 2, the legal concept of racially polarized voting incorporates


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neither causation nor intent. It means simply that the race of voters correlates

with the selection of a certain candidate or candidates; that is, it refers to the

situation where different races (or minority language groups) vote in blocs for

different candidates.” Id. (emphasis original) (quoting Gingles, 478 U.S. at 62).

But a closer review of the opinions shows that a majority of the justices in

Gingles declined to endorse this approach to majority-bloc voting.

      Justice White, in a concurring opinion, called it little more than

“interest-group politics.” Gingles, 478 U.S. at 83. Justice O’Connor, writing for

the remaining justices, declared flatly that “I agree with Justice White that

Justice Brennan’s conclusion that the race of the candidate is always irrelevant

in identifying racially polarized voting conflicts with Whitcomb and is not

necessary to the disposition of this case.” Id. at 101 (O’Connor, J., concurring).

And it is important to note that Justice O’Connor arrived at this conclusion

after endeavoring to construe what she called the “compromise legislation” of

the amended Section 2. That is, the calculated equivocation in Part B of Section

2 that expressly disclaims a right to proportional representation cannot be

given any substantive effect if all that matters when establishing racially

polarized voting is whether minority voters and majority voters are voting

differently. But the plurality view does just that:




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      [T]he combination of the Court’s definition of minority voting
      strength and its test for vote dilution results in the creation of a
      right to a form of proportional representation in favor of all
      geographically and politically cohesive minority groups that are
      large enough to constitute majorities if concentrated within one or
      more single-member districts. In so doing, the Court has
      disregarded the balance struck by Congress in amending § 2 and
      has failed to apply the results test as described by this Court in
      Whitcomb and White.

Id. at 85 (emphasis added) (O’Connor, J., concurring in the judgment). Thus,

while this Court was correct in identifying what a plurality of Justices in

Gingles described as “racially polarized voting,” it is just as true that an equally

sized plurality of the Gingles Court rejected that view. When combined with

Justice White’s admonition against construing Section 2 as enshrining

interest-group politics into law, the former plurality does not carry the day.

      But even if this Court still disagrees with Defendant on this point, there

is a remaining issue: The contrary view—that racial bloc voting is present

anywhere a minority happens to vote for a different candidate than the

majority—would raise serious questions about the constitutionality of Section

2, which cannot be validly understood to require changes in districts solely

because of partisan voting behavior.




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            1.    Statutory text, history, and precedent establish that if
                  the majority blocks the minority group’s preferred
                  candidates because of ordinary partisan politics,
                  there is no “racial bloc voting.”

      Section 2 is designed to root out racially discriminatory laws. The text

requires Plaintiffs to prove that there is a “standard, practice, or procedure”

that “results in a denial or abridgement of the right of any citizen of the United

States to vote on account of race or color.” 52 U.S.C. § 10301(a) (emphasis

added). It is Plaintiffs’ burden to show that “the political processes leading to

nomination or election in the State or political subdivision are not equally open

to participation by members of a class of citizens… in that its members have

less opportunity than other members of the electorate to participate in the

political process and to elect representatives of their choice.” Id. at § 10301(b)

(emphasis added). Section 2 thus requires Plaintiffs to show that the

“challenged law… caused” them, “on account of race” to have less opportunity

to elect their preferred candidates than members of other races. Greater

Birmingham Ministries v. Sec’y of Ala., 992 F.3d 1299, 1329 (11th Cir. 2021)

(emphasis in original).

      The text explicitly does not “guarantee” partisan victories or “electoral

success.” LULAC, 548 U.S. at 428 (citation omitted). If minority voters’

preferred candidates lose for non-racial reasons, such as failing to elect



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candidates because they prefer Democrats in Republican-dominated areas,

they nonetheless have precisely the same opportunity as “other members of the

electorate,” and they have correspondingly not suffered any “abridgement” of

their right to vote “on account of race.” 52 U.S.C. § 10301. Section 2 does not,

in other words, relieve racial minorities of the same “obligation to pull, haul,

and trade to find common political ground” that affects all voters. De Grandy,

512 U.S. at 1020.

      This view is not some recent legal phenomenon, but rather was borne out

in Gingles itself. Indeed, as Justice O’Connor explained, the view advocated by

Plaintiffs here (and the view espoused by the plurality in Gingles) would

effectively overturn Whitcomb v. Chavis, 403 U.S. 124 (1971), one of the two

Supreme Court precedents that the “[a]mended § 2 intended to codify.” Gingles,

478 U.S. at 83 (citations omitted). In Whitcomb, the Court explained that

although residents in one area of Marion County consistently lost elections,

that was because they “vote[d] predominantly Democratic,” and Republicans

generally won elections in the county. 403 U.S. at 153. “[H]ad the Democrats

won all of the elections or even most of them, the ghetto would have no

justifiable complaints about representation.” Id. at 152. And the failure of

Democrats was insufficient to show illegality. Thus, in Gingles, Justice

O’Connor stressed that Whitcomb required courts to differentiate between

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situations where race explains voting patterns from those where the partisan

“interests of racial groups” simply “diverge.” 478 U.S. at 100.

        Section 2 cannot be rationally interpreted as prohibiting certain election

practices when Republicans are in the majority but requiring other election

practices where Democrats dominate. “The Voting Rights Act does not

guarantee that nominees of the Democratic Party will be elected, even if black

voters are likely to favor that party’s candidates.” Baird v. Indianapolis, 976

F.2d 357, 361 (7th Cir. 1992). Instead, as the Senate Report makes clear, the

amended Section 2 applies only where “racial politics … dominate the electoral

process.” S. Rep. at 33 (emphasis added).

        The alternative view would mandate not only a partisan preference but

a racial preference. Here, for instance, Black Democrats—like white

Democrats, Asian Democrats, and Latino Democrats—ordinarily fail to elect

their preferred candidates because the majority of Georgia voters generally

choose Republicans.8 Although Plaintiffs claim that Black voters alone among

that group are entitled to districts in which they are guaranteed electoral

success, “Section 2 requires an electoral process ‘equally open’ to all, not a

process that favors one group over another.” Gonzalez v. City of Aurora, 535



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    With several notable exceptions in statewide races in 2020, 2021, and 2022.

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F.3d 594, 598 (7th Cir. 2008). Section 2 does not require courts to mandate that

Black Democrats vote more successfully than white Democrats. Clements, 999

F.2d at 861 (“[W]hite Democrats have in recent years experienced the same

electoral defeats as minority voters. If we are to hold that these losses at the

polls, without more, give rise to a racial vote dilution claim warranting special

relief for minority voters, a principle by which we might justify withholding

similar relief from white Democrats is not readily apparent.”).

      Moreover, to hold that there is no racial component beyond simply

observing that majority and minority vote differently would also eviscerate

another aspect of Section 2: its emphatic rejection of a right to proportionality.

52 U.S.C. § 10301(b) (“[N]othing in this section establishes a right to have

members of a protected class elected in numbers equal to their proportion in

the population.”). Avoiding a requirement of proportionality was a central focus

of Congress in amending Section 2. See Gingles, 478 U.S. at 84 (O’Connor, J.,

concurring).

      Given all this, it should be no surprise that other circuits have rejected

a view of Section 2 that showing polarization is enough. The Fifth Circuit, for

instance, has held that Section 2 plaintiffs cannot succeed when they “have not

even attempted to establish proof of racial bloc voting by demonstrating that

race, not … partisan affiliation, is the predominant determinant of political

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preference.” Clements, 999 F.2d at 855. Likewise, the First Circuit holds that

“plaintiffs cannot prevail on a VRA Section 2 claim if there is significantly

probative evidence that whites voted as a bloc for reasons wholly unrelated to

[race].” Vecinos De Barrio Uno v. City of Holyoke, 72 F.3d 973, 981 (1st Cir.

1995). And Judge Tjoflat has opined that, even if a plaintiff has provided

evidence of racial bloc voting, a “defendant may rebut the plaintiff’s evidence

by demonstrating the absence of racial bias in the voting community; for

example, by showing that the community’s voting patterns can best be

explained by other, non-racial circumstances.” Nipper, 39 F.3d at 1524

(plurality opinion).

      To be sure, the courts disagree on whether the third Gingles factor or the

totality phase is the appropriate time to ensure racial, as opposed to merely

partisan, polarization exists. The Fifth Circuit, for instance, holds that there

is no third Gingles factor without proof of racial, as opposed to partisan,

polarization. Clements, 999 F.2d at 892. The Second Circuit—as this Court

held in its Order denying the preliminary injunction—holds that the inquiry

should be conducted at the totality-of-the-circumstances phase of analysis.

Goosby v. Town Bd., 180 F.3d 476, 493 (2d Cir. 1999); see also Lewis v.

Alamance County, N.C., 99 F.3d 600, 615 n.12 (4th Cir. 1996) (noting

differences among circuit courts).

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      But this minor disagreement does not matter much. The key point is that

Plaintiffs, who bear the ultimate burden of proof, must establish that race is

the reason they supposedly lack equal “opportunity.” 52 U.S.C. § 10301(b). And

if voting patterns establish, instead, that Republicans always win (regardless

of race), then non-Republican voters of all races have exactly the same

opportunity to elect their candidates of choice, in every case. This is why this

Court should require proof of racial bloc voting as part of the third Gingles

factor (if race is not the “domina[nt]” reason for bloc voting, there can be no

“racial bloc voting.” S. Rep. at 33 (emphasis added)), even if the analysis is

ultimately the same. As discussed below, Plaintiffs’ lack of evidence on this

point is fatal to their claims here.

            2.     If § 2 allowed partisan bloc voting to form the basis of
                   a claim, it would be unconstitutional.

      Beyond being irreconcilable with the text or binding precedent, a view

that racial bloc voting requires only that the majority and minority voters vote

differently would also make Section 2 unconstitutional. Congress enacted

Section 2 under its power to enforce the Fifteenth Amendment, which prohibits

only “purposeful discrimination,” not laws that merely “resul[t] in a racially

disproportionate impact.” City of Mobile v. Bolden, 446 U.S. 55, 70 (1980)

(citation omitted); see also U.S. CONST. amend. XV. Section 2’s results test goes



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beyond the constitutional provision that it purports to enforce, which makes

sense to the extent that Section 2 can be understood as a tool for addressing

invidious racial discrimination. But Congress certainly cannot privilege a

particular political party in a favored electoral position. Congress may use its

enforcement power only as a “congruen[t] and proportional[] ... means” to

“remedy    or    prevent”    the   unconstitutional   “injury”   of   intentional

discrimination. City of Boerne v. Flores, 521 U.S. 507, 519–20 (1997). The

Fifteenth Amendment’s enforcement power does not allow Congress to “alter[]

the meaning” of the Constitution. Id. at 519. Accordingly, to ensure that

Section 2 stays within the bounds of the Fifteenth Amendment, the results test

must be “limited to those cases in which constitutional violations [are] most

likely.” Id. at 533 (citation omitted).

      If Section 2 were interpreted in a way that plaintiffs can establish racial

bloc voting merely by showing the minority and majority vote differently, it

would not fit within those constitutional bounds. As Justice White explained

in his dissent in Bolden, the original results test was designed to target

“objective factors” from which discrimination “can be inferred.” 446 U.S. at 95

(emphasis added). The amendments to Section 2 were meant to “restore” that

test. Gingles, 478 U.S. at 43-44 & n.8 (citations omitted). And as Defendant




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will further explain below, their interpretation does not alter this “objective

factors” test.

      What is more, interpreting Section 2 to grant preferential treatment to

particular racial groups would violate the Equal Protection Clause by

compelling state action to benefit one racial group at the expense of others. See

U.S. CONST. amend. XIV, § 1. “[S]ubordinat[ing] traditional race-neutral

districting principles” to increase minority voting strength violates the

Constitution. Miller v. Johnson, 515 U.S. 900, 916 (1995). Where Section 2 is

used not to undo racial bias but to undo a pattern of partisan voting, in favor

of one (and only one) racial minority, that must be unconstitutional.9




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  At a minimum, such an interpretation of Section 2 raises constitutional
questions and should be avoided if possible. “When a serious doubt is raised
about the constitutionality of an act of Congress, it is a cardinal principle that
this Court will first ascertain whether a construction of the statute is fairly
possible by which the question may be avoided.” Jennings v. Rodriguez, 138 S.
Ct. 830, 842 (2018) (citation omitted). That is doubly true where the
interpretation would “upset the usual constitutional balance of federal and
state powers.” Gregory v. Ashcroft, 501 U.S. 452, 460 (1991). Courts should
interpret statutes to do so only when congressional intent is “unmistakably
clear.” Id. (citations omitted).

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      B. There is no racial bloc voting here because partisan politics,
         not race, explains the voting patterns highlighted by
         Plaintiffs, and Plaintiffs’ experts offer no evidence disputing
         this.

      With the proper rule in place, Plaintiffs’ claim fails under Section 2

because they “have not even attempted to establish proof of racial bloc voting

by demonstrating that race, not ... partisan affiliation, is the predominant

determinant of political preference.” Clements, 999 F.2d at 855.

      As established above, a successful Section 2 claim requires that race, not

party, is the cause of “divergent voting patterns.” Id. at 861. Plaintiffs must,

therefore, prove as much. But Plaintiffs here did not even try to do so, instead

just throwing up their hands or arguing that race and party are too inseparable

ever to be considered separately. As the Plaintiffs’ expert explained, “It’s

irrelevant, the race of the candidate that voters are supporting. It’s only

relevant who they’re supporting and whether they’re supporting the same

candidate or not.” SMF ¶ 66; Handley Dep. 95:24-96:02. And while Dr. Handley

did examine some primary contests in the relevant areas she analyzed, she

ignored their impact when arriving at her conclusion that the voting in Georgia

is racially polarized. “A hundred percent of the general elections were

polarized… That’s higher than 55 percent [of the primaries I analyzed].” SMF

¶ 67; Handley Dep. 97:04-11. In other words, as soon as party was taken out of



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the equation, the undisputed facts demonstrate that voters’ behavior

significantly altered. Dr. Handley, however, ignored these results and instead

looked only at general elections to arrive at her conclusion that voting in

Georgia is racially polarized. “[M]y conclusion that voting is polarized in

Georgia is based on the general elections.” SMF ¶ 68; Handley Dep. 98:07-13.

      But one cannot determine whether the voting patterns of Georgia voters

are due to racial politics when they only examine general elections because, as

Plaintiffs’ experts own reports clearly indicate, Black voters in Georgia as a

group overwhelmingly vote for Democrats and against Republicans. This is

true regardless of the race of the candidate. See SMF ¶ 69-73; Alford Dep.

112:13-117:13. It is true when the Democratic candidate is white. Id. It is true

when the Democratic candidate is Black. Id. It is true when the Republican

candidate is white. Id. It is true when the Republican candidate is black. Id.

Thus the only thing Plaintiffs’ expert has shown in her data is that Black

Georgians vote cohesively for Democrats.

      Plaintiffs’ evidence of racial polarization is, in reality, nothing more than

evidence of partisan polarization where a majority of voters support one party

and a minority of voters support another party. This is, as Justice White

described in Gingles, “interest group” politics. Plaintiffs’ own political goals in

bringing this case further illustrate that the issues in this case are not a matter

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of race, but rather that the “most political activity in America”10 had political

consequences they do not like.

      Moreover, the data and analysis provided by Plaintiffs’ own experts

plainly demonstrate that when party is removed from the equation, as in Dr.

Handley’s Democratic primaries analysis, the level of polarization drops off

dramatically. That is simply not enough for Plaintiffs to carry their burden of

proving racial polarization sufficient to satisfy prongs two and three of Gingles.

To the contrary, all the Court has before it is evidence establishing that party,

rather than race, explains the “diverge[nt]” voting patterns at issue. Gingles,

478 U.S. at 100 (O’Connor, J., concurring). Plaintiffs’ failure to offer any other

evidence ends this case, because they failed to show that prongs two and three

of Gingles are met.

                                 CONCLUSION

      After discovery, there remains no issue of any material fact. Plaintiffs

have not shown their proposed remedial map can function as a remedy, but

even if they have, the lack of evidence of racially polarized voting is fatal to

their claims because they have not shown the Gingles preconditions are met.




10 See, e.g., Charles S. Bullock III, Redistricting: The Most Political Activity in

America (2nd Ed. 2021).

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This Court should grant summary judgment to Defendant and dismiss this

case.


        Respectfully submitted this 20th day of March, 2023.

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                    CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the

foregoing Brief has been prepared in Century Schoolbook 13, a font and type

selection approved by the Court in L.R. 5.1(B).

                                           /s/Bryan P. Tyson
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